Case 2:05-Cr-20282-BBD Document 12 Filed 08/03/05 Page 1 of 2 Page|D 17

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 AUG _.3 m |}: 141*
Western Division

  

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UNITED STATES OF AMERICA _ C;_Eg:;'r;' igl ij aj C@Um
' ' \"i"i”D ilj l i‘\.\“-Et-:i?tii$
-vs- Case No. 2:05cr20282-04D
TERESIA SIMPSON

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

' The F ederal Public Defender is appointed as counsel for the Defendant.
'I`YPE OF APPOINTMENT
~ Other Defendant to pay $150.00 towards cost of counsel. Beginning the on the first
day of each month.

DONE and ORDERED in 167 North Main, Memphis, this Q day of August,
2005.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant F ederal Public Defender

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TERESIA SMPSONH|| document amend on the docke! 8 - - 1 \ '

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20282 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

